      Case 4:21-cv-00021-HLM-WEJ Document 1 Filed 01/26/21 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

ELIZABETH NGUGI,

      Plaintiff,
                                                  Case No. _____________
v.
                                                  Jury Trial Demanded
SHAW INDUSTRIES GROUP, INC.,

      Defendant.
                            NOTICE OF REMOVAL
      Shaw Industries Group, Inc. (“Shaw”), through counsel and in accordance

with 28 U.S.C. § 1446(b), files this Notice of Removal of this action to the United

States District Court for the Northern District of Georgia, Rome Division. Shaw

respectfully shows the Court the following grounds for removal:

I.    Introduction.

A.    Procedural history.

      1.     On or about December 24, 2020, Plaintiff filed her Summons and

Complaint in the Superior Court of Whitfield County, Georgia. The action is

styled Elizabeth Ngugi v. Shaw Industries Group, Inc., Civil Action File No.

20CI01646, and is currently pending in that state court.

B.    Description of Plaintiff’s allegations of fact and causes of action.

      1.     This action arises out of Plaintiff’s employment with Shaw and her

separation from that employment.


                                                            20637_00/21001/BL1-4844-2871-5481_2
        Case 4:21-cv-00021-HLM-WEJ Document 1 Filed 01/26/21 Page 2 of 5




        2.    Plaintiff’s Complaint alleges that she was harassed and intimidated by

a supervisor, that she complained of the conduct to the supervisor's manager, and

that she was subsequently terminated in retaliation for her protected complaints

and opposition to her supervisor's alleged conduct.1

        3.    Plaintiff therefore asserts a cause of action under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e, et seq. 2

II.     This case is removable because this Court has original jurisdiction.

A.      Plaintiff bases her claim on federal law.

        1.    Plaintiff has specifically invoked the jurisdiction of this Court by

basing one of her causes of action on federal law, specifically Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e, et seq. This Court therefore possesses

original jurisdiction over this action under 28 U.S.C. § 1331.

        2.    Since federal jurisdiction exists under 28 U.S.C. § 1331, this action is

removable under the provisions of 28 U.S.C. § 1441.

III.    The procedural requirements for removal have been met.

A.      Venue is appropriate in this Court.

        1.    This Court is the United States District Court for the district and

division in which the above-referenced state court action is pending, which makes


1
    Compl., ¶¶ 5-14.
2
    Compl., ¶ 11.


                                           2                   20637_00/21001/BL1-4844-2871-5481_2
      Case 4:21-cv-00021-HLM-WEJ Document 1 Filed 01/26/21 Page 3 of 5




it the appropriate venue for filing this Notice of Removal under 28 U.S.C.

§ 1446(a).

B.    This Notice of Removal is timely filed.

      1.     On December 28, 2020, the Summons and Complaint were served on

Shaw via hand delivery. This Notice of Removal is timely filed within thirty (30)

days after service of the Summons and Complaint in accordance with 28 U.S.C. §

1446(b).

C.    Shaw consents to removal.

      1.     As evidenced by the signature of its counsel below, Shaw consents to

the removal of this action to this Court.

D.    The state court pleadings are attached.

      1.     Copies of the Summons and Complaint (including exhibits), which

constitute all process and pleadings in this case, are attached to this Notice of

Removal as Exhibit A and are incorporated herein by reference.

E.    Shaw is providing notice to counsel for Plaintiff and the state court.

      1.     After filing this Notice of Removal, Shaw will promptly serve written

notice of this Notice of Removal on counsel for Plaintiff and file the same with the

Superior Court Clerk of Whitfield County, in accordance with 28 U.S.C. §

1446(d). A copy of the Notice of Filing Removal to be sent to counsel for Plaintiff

and the state court is attached as Exhibit B.



                                            3                 20637_00/21001/BL1-4844-2871-5481_2
      Case 4:21-cv-00021-HLM-WEJ Document 1 Filed 01/26/21 Page 4 of 5




IV.   Reservation of Defenses and Non-Admission of Allegations

      By removing this matter to federal court, Shaw is in no way waiving any

available defenses nor is Shaw admitting any of the allegations made in Plaintiff's

Complaint.

      WHEREFORE, Shaw removes this action from the Superior Court of

Whitfield County, Georgia, to the United States District Court for the Northern

District of Georgia, Rome Division, and prays that this action proceed in this Court

as an action properly removed.

                                 Respectfully submitted,

                                 CHAMBLISS, BAHNER & STOPHEL, P.C.


                                 By:   /s/ Justin L. Furrow
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                                 Attorneys for Shaw Industries Group, Inc.




                                         4                  20637_00/21001/BL1-4844-2871-5481_2
      Case 4:21-cv-00021-HLM-WEJ Document 1 Filed 01/26/21 Page 5 of 5




                        CERTIFICATE OF SERVICE
       I do hereby certify that the foregoing Notice of Removal has been filed
electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt.
Parties may access this filing through the Court’s electronic filing system. The
following parties will be served by regular U.S. Mail with proper postage applied
thereon to ensure prompt delivery:

                   William A. Tiku
                   2470 Windy Hill Rd, Ste 116
                   Marietta, GA 30067
                   Attorney for Plaintiff
      This 26th day of January, 2021.

                               CHAMBLISS, BAHNER & STOPHEL, P.C.


                               By:      /s/ Justin L. Furrow
                                        Justin L. Furrow




                                          5                    20637_00/21001/BL1-4844-2871-5481_2
